     Case 2:21-cv-00316 Document 461 Filed 07/11/22 Page 1 of 6 PageID #: 29615




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

B.P.J., by her next friend and mother, HEATHER
JACKSON,

                                      Plaintiff,

v.                                                           Civil Action No. 2:21-cv-00316
                                                       Hon. Joseph R. Goodwin, District Judge

WEST VIRGINIA STATE BOARD OF
EDUCATION, HARRISON COUNTY BOARD
OF EDUCATION, WEST VIRGINIA
SECONDARY SCHOOL ACTIVITIES
COMMISSION, W. CLAYTON BURCH in his
official capacity as State Superintendent,
DORA STUTLER in her official capacity as
Harrison County Superintendent, and
THE STATE OF WEST VIRGINIA,

      Defendants,

and

LAINEY ARMISTEAD,

      Intervenor Defendant.

          REPLY IN SUPPORT OF DEFENDANT STATE OF WEST VIRGINIA’S
           MOTION IN LIMINE TO EXCLUDE THE PARTIAL TRANSCRIPT
                     OF H.B. 3293’S LEGISLATIVE HEARINGS

         Defendant, State of West Virginia (the “State”), filed its Motion In Limine To Exclude

Exclude The Partial Transcript Of H.B. 3293’s Legislative Hearings (“State’s Initial Motion,”

ECF Nos. 400 and 401) and Plaintiff filed its opposition (“Pl.’s Op.,” ECF No. 445). The State

replies as follows.




                                                   1
  Case 2:21-cv-00316 Document 461 Filed 07/11/22 Page 2 of 6 PageID #: 29616




                                           ARGUMENT

   A. Neither The Purported Partial Transcript Nor The Actual Recordings Of Legislative
      Debates Are Relevant And Should Be Excluded.

       Plaintiff argues that H.B. 3293 bill is discriminatory in nature. Plaintiff claims that it is

entitled to introduce the legislative debates, whether the audio recordings or an unauthenticated

partial transcript, to present cherry-picked statements of a handful of legislators (out of 134) to

show legislative motive. Those debates are not admissible to show legislative motive.

       First, as a matter of simple logic and basic civics, an individual legislator is a representative

of his or her constituents and does not speak for the body of the legislature as a whole.

       Second, the law does not allow such evidence to support legislative motive. Plaintiff

claims two cases do allow this Court to consider legislative motive and the subject legislators’

statements: Ne. Ohio Coal. For the Homeless v. Husted, No. 06-CV-896, 2016 WL 1047130 (S.D.

Ohio Mar. 16, 2016), and Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252

(1977). But, the Supreme Court has just clarified that courts should not look to legislative motives

in evaluating the purpose of laws:

       This Court has long disfavored arguments based on alleged legislative motives. See, e.g.,
       Erie v. Pap's A. M., 529 U.S. 277, 292, 120 S.Ct. 1382, 146 L.Ed.2d 265 (2000) (plurality
       opinion); Turner Broadcasting System, Inc. v. FCC, 512 U.S. 622, 652, 114 S.Ct. 2445,
       129 L.Ed.2d 497 (1994); United States v. O'Brien, 391 U.S. 367, 383, 88 S.Ct. 1673, 20
       L.Ed.2d 672 (1968); Arizona v. California, 283 U.S. 423, 455, 51 S.Ct. 522, 75 L.Ed. 1154
       (1931) (collecting cases).

Dobbs v. Jackson Women's Health Org., No. 19-1392, 2022 WL 2276808, at *18 (U.S. June 24,

2022). Even more apropos to Plaintiff’s arguments:

       [t]he Court has recognized that inquiries into legislative motives “are a hazardous matter.”
       O'Brien, 391 U.S. at 383, 88 S.Ct. 1673. Even when an argument about legislative motive
       is backed by statements made by legislators who voted for a law, we have been reluctant
       to attribute those motives to the legislative body as a whole. “What motivates one legislator
       to make a speech about a statute is not necessarily what motivates scores of others to enact
       it.” Id., at 384, 88 S.Ct. 1673.

                                                  2
    Case 2:21-cv-00316 Document 461 Filed 07/11/22 Page 3 of 6 PageID #: 29617




Id.

        Even if Arlington Heights stood for the proposition that individual legislators’ statements

should be used to determine legislative motive—and it does not1—Dobbs has overruled that

proposition by implication.

        Similarly, even if Husted ever had any precedential value for this Court, Dobbs obviously

takes precedent over Husted. Further, Dobbs explains why the reasoning in Husted is wrong in

looking to legislators’ individual statements. “What motivates one legislator to make a speech

about a statute is not necessarily what motivates scores of others to enact it.” Dobbs, 2022 WL

2276808, at *18 (cleaned up).

        Aside from that, Husted discarded without justification the holding in In re Davis that

“[i]solated statements of individual legislators represent neither the intent of the legislature as a

whole nor definitive interpretations of the language enacted by Congress.” 170 F.3d 475, 480 (5th

Cir. 1999). Instead, the district court determined that, without citing to precedent, it was not a

question of admissibility, but of weight given to the evidence after it was admitted. Husted, 2016

WL 1047130, at 2.

        To the extent that legislative history is admissible, the Plaintiff has not provided any

contrary law to the State’s cases showing that legislative history is what the West Virginia Supreme

Court of Appeals has said that it is—namely committee reports, not legislators’ individual



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  Arlington Heights recognized “that judicial inquiries into legislative or executive motivation
represent a substantial intrusion into the workings of other branches of government. Placing a
decisionmaker on the stand is therefore ‘usually to be avoided.’” 429 U.S. at 268 n.18. The Court
did indicate that actual legislative history can be relevant, but not necessarily the legislators’
statements. “The legislative or administrative history may be highly relevant, especially where
there are contemporary statements by members of the decisionmaking body, minutes of its
meetings, or reports.” Arlington Heights, 429 U.S. at 268. See generally State’s Initial Motion at
5, ECF No. 401.

                                                 3
  Case 2:21-cv-00316 Document 461 Filed 07/11/22 Page 4 of 6 PageID #: 29618




statements. See State’s Initial Motion at 4-6. The crux of the holding in Phillips v. Larry’s Drive-

In Pharmacy, Inc., 220 W. Va 484 (2007), is that under the substantive law of West Virginia—

which controls here—only committee reports are legislative history. Plaintiff’s only effort to rebut

this is citing Beck v. Commc’ns Workers of Am., 776 F.2d 1187 (4th Cir. 1985). Beck is inapposite

for two reasons. First, it is obviously a pre-Dobbs case. Second, Beck considered federal

congressional representatives’ statements, which has nothing to do with the law of legislative

history in the various states, particularly that of West Virginia.

       Therefore, the State requests that the Court grant its Motion and exclude any audio

recordings or transcripts thereof for lack of relevance.

   B. Plaintiff Concedes That If Any Debates Are Submitted, They All Should Be
      Submitted And That The Transcript Is Not Admissible.

       It appears to the State that the Plaintiff has agreed that the transcript is not authenticated

and that Plaintiff will instead submit the complete recordings of the debates. Accordingly, the

State requests that if the Court admits into evidence any of the foregoing, it require all of the

hearings and debates to be admitted into evidence.

                                          CONCLUSION

       For the foregoing reasons, the State of West Virginia respectfully requests that this Court

grant its Motion in Limine and exclude the recordings or any purported transcript of H.B. 3293’s

legislative hearings and exclude any discussion of the same.

                                               Respectfully submitted.

                                               PATRICK MORRISEY
                                                West Virginia Attorney General

                                               /s/ Curtis R. A. Capehart
                                               Douglas P. Buffington II (WV Bar # 8157)
                                                 Chief Deputy Attorney General
                                               Curtis R.A. Capehart (WV Bar # 9876)

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Case 2:21-cv-00316 Document 461 Filed 07/11/22 Page 5 of 6 PageID #: 29619




                                   Deputy Attorney General
                                  David C. Tryon (WV Bar #14145)
                                   Deputy Solicitor General
                                  OFFICE OF THE WEST VIRGINIA ATTORNEY
                                  GENERAL
                                  State Capitol Complex
                                  1900 Kanawha Blvd. E, Building 1, Room E-26
                                  Charleston, WV 25305-0220
                                  Telephone: (304) 558-2021
                                  Facsimile: (304) 558-0140
                                  Email: Curtis.R.A.Capehart@wvago.gov

                                  Counsel for Defendant, STATE OF WEST VIRGINIA

                                  DATE: July 11, 2022




                                    5
  Case 2:21-cv-00316 Document 461 Filed 07/11/22 Page 6 of 6 PageID #: 29620




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

 B. P. J., by her next friend and mother,
 HEATHER JACKSON,

 Plaintiff,

 v.                                                CIVIL ACTION NO. 2:21-cv-00316
                                                   Judge Joseph R. Goodwin
 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY
 BOARD OF EDUCATION, WEST
 VIRGINIA      SECONDARY        SCHOOL
 ACTIVITIES               COMMISSION,
 W. CLAYTON BURCH, in his official
 Capacity as State Superintendent, DORA
 STUTLER, in her official capacity as
 Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,

        Defendants.

 and LAINEY ARMISTEAD,

        Intervenor Defendant.


                               CERTIFICATE OF SERVICE

       I hereby certify that, on this 11th day of July 2022, I electronically filed the foregoing

Memorandum with the Clerk of Court and all parties using the CM/ECF System.


                                            /s/ Curtis R. A. Capehart
                                            Curtis R. A. Capehart




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